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           IN THE UNITED STATES DISTRICT COURT FOR
                THE WESTERN DISTRICT OF TEXAS
                    SAN ANTONIO DIVISION

H O L C O M B E , et. al,                      NO. 5:18-CV-00555-XR
                                                 (consolidated cases)
Plaintiffs

vs.

UNITED STATES OF
AMERICA,

Defendant



      REMOTE DEPOSITION PROTOCOL ORDER ORDER

      The Court ORDERS that Parties should take remote depositions in this

case while the COVID-19 Pandemic precludes in-person depositions. The

Court ORDERS that the Parties should abide by the following protocol.

a. Parties shall serve notice of depositions that outline the remote means of
   taking the deposition, including the technologies used and how parties
   should connect to the deposition. An example notice of deposition is at-
   tached to this order as EXHIBIT A.

b. The court reporter shall swear the witness in remotely.

c. Parties shall use only documents in deposition that have been previously
   exchanged more than five (5) business days prior to the deposition and
   uniquely bates stamped. Parties may refer to those documents by bates
   stamp number and display those documents on the witness’ screen, if such
   technology is used. Should the parties wish to attach documents, Parties
   will put on the record the bates stamp range of the document and produce
   the document to the court reporter following the deposition.

d. The court reporting or IT firm running the remote deposition technology
   will disable private chats between individuals involved in the deposition.



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e. At the conclusion of the deposition, the witness shall sign the declaration
   attached as EXHIBIT B to this Order, affirming that no witness tamper-
   ing occurred.

    It is so ORDERED.

    SIGNED on this     28th      day of   April            , 2020.




                                          HON. JUDGE XAVIER RODRIGUEZ




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